     Case 2:18-bk-20553-BR             Doc 17 Filed 10/19/18 Entered 10/19/18 12:19:44                        Desc
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 1 DAVID M. GOODRICH, TRUSTEE
     650 Town Center Drive, Suite 600
 2 Costa Mesa, CA 92626
     Tel:     (714) 966-1000
 3
     CHAPTER 7 TRUSTEE
 4

 5                                  UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 6                                        LOS ANGELES DIVISION

 7
     In Re:                                                        Case No.: 2:18-bk-20553-BR
 8                                                                 Chapter: 7
        MARY FUENTES
 9
                                                                   NOTICE OF CONTINUED MEETING
10                                                                 OF CREDITORS AND APPEARANCE
                                                                   OF DEBTOR [11 USC 341(A)]
11

12                Debtor(s)
13
   COUNSEL: STANLEY D BOWMAN
   TO THE ABOVE NAMED DEBTOR(S):
14
              You are hereby notified that the Meeting of Creditors pursuant to the Title 11 U.S.C. Section 341(a) in the
15 above-entitled matter was continued to 11/08/2018 at 11:00 AM in Room 2, U.S TRUSTEE’ OFFICE, 915
     Wilshire Blvd., 10th Floor, Los Angeles, CA 90017 for the reason set forth below:
16
              ☐       (1) You failed to appear at the 341(a) meeting previously scheduled in your matter. You are
17                    further notified that in the event you do not appear at said time and place, your case may be
                      dismissed.
18

19           ☒       (2) Other: Debtor to provide insurance policy for real property. Please call prior to the continued
     meeting to determine if the appearance is required.
20

21
      Dated: October 19, 2018                                 /S/ DAVID M. GOODRICH
22
                                                              DAVID M. GOODRICH
23

24 I certify that I served the within Notice on the above debtor(s), the attorney of record (if any), and interested
     parties on October 19, 2018.
25
                                                               /s/ Lorraine Robles
26                                                             Lorraine Robles
27

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